Case 2:25-cv-00066-JRG   Document 1-8   Filed 01/22/25   Page 1 of 9 PageID #: 196




                         Exhibit G
                 Case 2:25-cv-00066-JRG           Document 1-8           Filed 01/22/25   Page 2 of 9 PageID #: 197

                                                 Exhibit G – U.S. Patent No. 11,388,664


Toyota makes, uses, tests, offers for sale, sells, and/or imports vehicles that comply, operate in accordance, and/or are configured in
accordance with 36 Series of one or more of 3GPP releases 8-16. Such vehicles are collectively referred to as the “Accused Products.”
The Accused Products include Toyota and Lexus-branded vehicles that support LTE and that were made in, used in, tested in, offered
for sale in, sold in, or imported into the United States by Toyota at some point in time since 2018. Each of the Accused Products
supports LTE and, thus, includes the features and functionality identified in this chart. The features and functionality identified in this
chart cause the Accused Products to practice the asserted claims of U.S. Patent No. 11,388,664 (the “’664 patent”).


             Claim 15                                                       Accused Products
 [PRE] A user equipment (UE)             An Accused Product is a “user equipment” (UE).
 comprising:

 [A] a receiver operable to receive      The Accused Products include hardware/software configured to receive signals when
 control channel information; and        communicating using LTE (i.e., a receiver). As evidenced below, the hardware/software
                                         configured to receive signals when communicating using LTE is operable to receive control
                                         channel information.




                                                                     1
                    Case 2:25-cv-00066-JRG         Document 1-8          Filed 01/22/25    Page 3 of 9 PageID #: 198

                                                  Exhibit G – U.S. Patent No. 11,388,664


                  Claim 15                                                       Accused Products




                                           Source: TS 36.213, 1 p. 64


    [B][1] circuitry operable to search    As evidenced below, the Accused Products include circuitry operable to search for a control
    for a control channel in the control   channel in the control channel information by decoding control channels represented by
    channel information by decoding        nodes of a tree structure using an identifier.
    control channels represented by

1
    3GPP TS 36.213 V8.8.0 (2009-09) Evolved Universal Terrestrial Radio Access (E-UTRA); Physical layer procedures (Release 8)

                                                                     2
                Case 2:25-cv-00066-JRG       Document 1-8        Filed 01/22/25     Page 4 of 9 PageID #: 199

                                           Exhibit G – U.S. Patent No. 11,388,664


              Claim 15                                                   Accused Products
nodes of a tree structure using an
identifier,




                                     Source: TS 36.213, pp. 64-65




                                                             3
               Case 2:25-cv-00066-JRG        Document 1-8         Filed 01/22/25    Page 5 of 9 PageID #: 200

                                           Exhibit G – U.S. Patent No. 11,388,664


             Claim 15                                                     Accused Products




                                     Source: TS 36.211, 2 p. 58




                                     Source: TS 36.213, pp. 52-54



2
 3GPP TS 36.211 V8.9.0 (2009-12) Evolved Universal Terrestrial Radio Access (E-UTRA); Physical Channels and Modulation
(Release 8)

                                                              4
                Case 2:25-cv-00066-JRG           Document 1-8           Filed 01/22/25   Page 6 of 9 PageID #: 201

                                                Exhibit G – U.S. Patent No. 11,388,664


              Claim 15                                                        Accused Products
[B][2] the tree structure having three   As evidenced below, the tree structure has three or more levels.
or more levels,




                                         Source: TS 36.211, p. 58


[B][3] the nodes of the tree structure As evidenced below, the nodes of the tree structure at a highest level of the tree structure
at a highest level of the tree structure comprising a single control channel element and nodes of the tree structure at lower levels of
comprising a single control channel the tree structure comprising a plurality of consecutive control channel elements.
element and nodes of the tree
structure at lower levels of the tree
structure comprising a plurality of
consecutive control channel
elements,




                                                                    5
                 Case 2:25-cv-00066-JRG           Document 1-8           Filed 01/22/25   Page 7 of 9 PageID #: 202

                                                 Exhibit G – U.S. Patent No. 11,388,664


              Claim 15                                                           Accused Products




                                          Source: TS 36.211, p. 58


[B][4] wherein control channel            As evidenced below, control channel allocations at the highest level of the tree structure are
allocations at the highest level of the   limited and control channel allocations increase more the lower the level of the three or more
tree structure are limited and control    levels of the tree structure.
channel allocations increase more
the lower the level of the three or
more levels of the tree structure.




                                                                     6
  Case 2:25-cv-00066-JRG    Document 1-8         Filed 01/22/25     Page 8 of 9 PageID #: 203

                           Exhibit G – U.S. Patent No. 11,388,664


Claim 15                                                 Accused Products




                    Source: TS 36.213, p. 64-65




                                             7
                Case 2:25-cv-00066-JRG       Document 1-8          Filed 01/22/25    Page 9 of 9 PageID #: 204

                                            Exhibit G – U.S. Patent No. 11,388,664


              Claim 15                                                     Accused Products




                Claim 18                                                   Accused Products
The UE of claim 15, wherein the      As evidenced below, the identifier is a cell radio network temporary identifier (C-RNTI)
identifier is a cell radio network   associated with the UE.
temporary identifier (C-RNTI)
associated with the UE.




                                     Source: TS 36.213, pp. 52-54




                                                               8
